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                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION


G. SIMPSON                                  §
Plaintiff                                   §
                                            §
                                            §
V.                                          §                            4:24-cv-2084
                                                               CASE NO. ________________
                                            §
                                            §
                                            §                       Jury Trial Demanded
NAVIENT SOLUTIONS, LLC                      §
Defendant                                   §
                                            §


                 PLAINTIFF’S ORIGINAL VERIFIED COMPLAINT,
              AND REQUEST FOR PRELIMINARY INJUNCTIVE RELIEF

       PLAINTIFF, G. SIMPSON ("Plaintiff"), by and through Plaintiff’s undersigned counsel,

in the above-styled matter and files this Plaintiff’s Original Complaint complaining of Defendant,

Navient Solutions, LLC f/k/a Sallie Mae (hereinafter referred to as “Defendant” and/or “Navient”

and/or “SLM”), and for cause of action respectfully shows the Court the following:

                                   I.      INTRODUCTION

       1.      Navient Solutions, LLC f/k/a Sallie Mae was the lone student loan servicer when

Plaintiff obtained her initial student loans in 2003. Being in repayment since 2007, Plaintiff

diligently attempted to pay down her student loans which are still serviced by Navient.

       2.      Despite her overpayments, Navient failed to properly service her loans, failed to

properly apply her payments, failed to properly calculate the terms of her loans, and unilaterally

and fraudulently modified the terms of the loans, ultimately extending her loans up to 54 years—

twenty-nine (29) years past the time period permitted by statute.

       3.      Defendant misreported Plaintiff’s loans on her credit reports causing her financial


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harm. Despite a year of trying to resolve the issues with Navient and the credit bureaus without

success, Plaintiff had no choice but to bring this lawsuit.

                                      II.     THE PARTIES

       4.      Plaintiff, G. Simpson is a natural person who entered into the contract that made

the basis of this suit in Harris County, Texas, and is a “consumer” as defined by the Fair Credit

Reporting Act, 12 CFR § 1022.3(f).

       5.      Defendant Navient Solutions, LLC f/k/a Navient Corporation/ Navient Solutions,

Inc., f/k/a Sallie Mae, Inc., and “Sallie Mae” (hereinafter “Navient” and/or “SLM”) is a foreign

corporation doing business in Texas, with its registered agent for service of process located at

CSC-Lawyers Incorporating Service Company, 211 E. 7th Street, Suite 620, Austin, Texas 78701.

                             ACTS OF CORPORATE/LLC ENTITIES

       6.      Wherever in the Complaint, a corporate and/or LLC Defendant is referred to as

doing any act or thing or failing to do any act or thing, such reference includes the corporate or

business entity itself as well as the officers, owner, partners, managers, members, agents, servants,

directors, representatives, and/or employees of said, Defendant.

                                 JURISDICTION AND VENUE

       7.      Under 28 U.S.C. § 1331, a case arising under the United States Constitution or

federal laws or treaties is a federal question case of the Fair Credit Reporting Act and the Federal

Family Education Loan Program. At the time the contract made the basis of this suit was entered

into was in Harris County, Texas and was performable in Harris County, Texas.

       8.      Additionally, complete diversity exists between the Parties and the matter in

controversy is more than $75,000.

       9.      Plaintiff seeks pendent and supplemental jurisdiction over her state law claims


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made herein.

                                                      FACTS

                   As a young twenty-something year old, Plaintiff held a full-time job and attended

college at night to obtain her undergraduate degree. Determined to take out only necessary loans,

on January 1, 2003, Plaintiff met with a college financial advisor. Thereafter, Plaintiff entered into

an FFELP Master Promissory Note1 with Sallie Mae, now known as Navient. A true and correct

copy of this contract is annexed hereto as Exhibit A.

                  After completing her undergraduate degree summa cum laude, in the top 10% of

her class, Plaintiff went on to seek a professional graduate degree. Again, Plaintiff intentionally

only took out necessary loans for tuition and books, covering her own living expenses and

maintaining nine Dean’s Academic Scholarships for the duration of the program, which took care

of half of the tuition. Plaintiff graduated at the beginning of the economic downturn of 2007/2008.2

                  When repayment began, on October 10, 2007, Plaintiff consolidated her loans for

an agreed upon term and sum. A true and correct copy of this contract is annexed hereto as Exhibit

B.

                  Under 34 CFR § 682.102, the repayment period of FFELP Consolidation Loans

begins the day the loan is disbursed. Here, it was disbursed on October 10, 20073. This is key for

the calculation of the term of the loan.




1
  The Higher Education Act of 1965 ("Act") established the Federal Family Education Loan Program (hereinafter
"FFELP” and/or “Loan Program")
2
  Global Economic Crisis and/or Great Recession
https://en.wikipedia.org/wiki/2007%E2%80%932008_financial_crisis
3
  Under 34 CFR § 682.102(e), Consolidation loan repayment. Generally, the repayment period for a Consolidation
loan begins on the day the loan is disbursed. The first payment of principal and interest on a Consolidation loan is due
from the borrower within 60 days after the borrower's liability on all loans being consolidated has been discharged.

                                                           3
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                  On October 8, 20074, Sallie Mae represented that the payoff date was 2037 as

excerpted from their correspondence below, calculated as 30 years after the 2007 date of

disbursement:




                  Plaintiff was considered a “new borrower” under the statute, so the 30-year term

was incorrectly applied. Specifically, 34 CFR § 682.209(a)(6)(ix) subtitled “Conversion of a loan

to repayment status” states, “A ‘new borrower’ is an individual who has no outstanding principal

or interest balance on an FFEL Program loan as of October 7, 1998, or on the date he or she obtains

an FFEL Program loan after October 7, 1998.” The following is excerpted directly from the

statute:




                  Notice that the definition for “new borrower” is also applied to “graduated

repayment” which was originally selected when Plaintiff applied for the consolidation loan as

excerpted below5:




4
  See Exhibit C 01 which is a true and correct copy, save for redactions for privacy, is attached hereto and incorporated
herein by reference.
5
  See Exhibit B 03 which is a true and correct copy, save for redactions for privacy, is attached hereto and incorporated
herein by reference.

                                                           4
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                  Thus, the statute defines Plaintiff as a “new borrower” and expressly limits the term

of the loan to 25 years, not 30 years. However, SLM/Navient improperly applied a 30-year term

to Plaintiff, never properly administering Plaintiff’s loans from day one.

                  This was not discovered until years later, as Plaintiff relied on SLM/Navient to

properly service the loans and relied on their representations.

                  Thereafter, due to the difficult economic situation, Navient/SLM pushed Plaintiff

into deferments and/or forbearances between 2007 and 2016, but Plaintiff was encouraged to make

as many overpayments as possible by Navient/SLM representatives. Plaintiff consistently overpaid

her loans and even paid additional payments through deferments as much as possible. However,

Plaintiff was never advised that any of these overpayments were not going toward the term of the

note.

                  In 2013, while technically in a deference period, upon obtaining a windfall, Plaintiff

made a large lump sum payment towards the loans. Plaintiff advised SLM that she wanted to

shorten her note and pay down her balances. However, without any supporting calculation,

Navient used the payment of the large lump sum as an opportunity to extend Plaintiff’s loans

again instead of shortening the term and paying down the notes faster. Following the lump sum

payment, SLM’s correspondence dated November 29, 20136, showed a payoff term of 2042 as

excerpted below:




6
 See Exhibit D, which is a true and correct copy, save for redactions for privacy, is attached hereto and incorporated
herein by reference.

                                                          5
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                  The above calculation is long passed the 25-year term limit of the loans, even if

periods of deferment or forbearance are added.7 Per Plaintiff’s calculation, the latest that the loan

terms could be extended under the applicable statute was 2036.8

                  Thereafter, on February 7, 2016, Navient stated that Plaintiff entered into Extended

Repayment Loan Program Level/Fixed, again, it extended the term of the note beyond the

statutory limit and provided a payoff date of August 25, 2043.9




                  Since 2016, having made overpayments on a near monthly basis, and not taking of

deferments or forbearances (even during the pandemic), it came to light in August 2022, that

Navient was disregarding all the additional payments made. Instead, Navient made the following

assertion via email correspondence, signed by Jennifer, Loan Serving Specialist incorporated and

excerpted below:10




                                                                                                                     .

                  This means that none of the overpayments were applied properly as this would be

impossible in light of the number of overpayments made by this point, which would have paid the


7
  Per Plaintiff’s calculation under the statute, the maximum loan term per the statute is October 10, 2007, + 25 years
+ 3.6 years of periods of deferment and/or forbearance (provided by Navient’s correspondence dated March 23, 2023),
which is approximately June 10, 2036.
8
  Id.
9
  See Exhibit E, which is a true and correct copy, save for redactions for privacy, is attached hereto and incorporated
herein by reference.
10
   See Exhibit F, which is a true and correct copy, save for redactions for privacy, is attached hereto and incorporated
herein by reference.

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loan ahead by years or shortened the term by years, however calculated.

                  Even worse, after Plaintiff noticed the issues with the application of principal and

interest, she began asking questions. As a result of these questions to Navient, on October 26,

2022, Navient again unilaterally changed the terms of Plaintiff’s note—this time extending it

eleven (11) years--as excerpted below:11




                  This was despite all of the monthly overpayments made to Navient, and no change

in payment plan, although Navient suddenly claimed there was a change from “Extended

Repayment” to “Extended Repayment” which makes no sense. The new payoff year of 2054 was

FIFTY-ONE years since entering the original MPN and FORTY-SEVEN YEARS since the 2007

disbursement of the loan, clearly in violation of the statute’s 25-year period.12

                  Plaintiff attempted to resolve this matter with Navient from 2022 through 2023. As

a result, on August 11, 2023, Navient again unilaterally changed the terms, subtracting two years,

and claiming the loans would be paid off in April 2052 as excerpted below:13




11
   A true and correct copy, save for redactions for privacy, is attached hereto and incorporated herein as Exhibit G.
12
   § 34 CFR 682.100, et. seq
13
   A true and correct copy, save for redactions for privacy, is attached hereto and incorporated herein as Exhibit H.

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                  Navient refused to admit the entire calculation error, only after being presented with

the statute did Navient admit that 2054 and 2052 were incorrect terms. Thereafter, Navient again

manipulated Plaintiff’s loans, this time reducing the term to 2043, which is still incorrect by law.

                  But immediately after that change of terms, Navient unilaterally moved Plaintiff

into an unapplied for Income Sensitive Repayment plan.14 Plaintiff demanded proof of the

application that Navient claimed was the motivation behind the move into ISR. Navient refused to

provide proof.

                  At this point, due to the misuse of her personal information, Plaintiff filed an

identity theft report with the FTC and notified all credit bureaus. After this report and several

weeks passed, Navient then admitted that the ISR plan was improperly applied and removed it

from Plaintiff’s loans, but still insisted on the 2043 payoff date and miscalculated term.

                  As detailed above, Navient completely failed to make appropriate monthly

disclosures under 34 CFR § 682.205(a)(3), as all of the disclosures made were all incorrect as a

result of the failure to calculate the term under the statute properly.

 Navient’s Steering of Plaintiff into Costly Forbearance instead of Income Driven Repayment

                  In addition to the foregoing, Navient, formerly known as Sallie Mae, Inc., was the

largest student loan servicer in the United States. Plaintiff enrolled into higher education in the

2000’s when Sallie Mae was the only student loan servicer offered to her at the time.

                  SLM/Navient’s principal responsibilities as a servicer include managing

borrowers’ accounts, including Plaintiff’s; processing monthly payments; assisting borrowers and




14
  See Exhibit I, which is a true and correct copy, save for redactions for privacy, is attached hereto and incorporated
herein by reference.

                                                          8
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including Plaintiff to learn about, enroll in, and remain in alternative repayment plans; and

communicating directly with borrowers, including Plaintiff about the repayment of loans.

               Despite representing to Plaintiff that Navient would help her find the right

repayment option for her circumstances, Navient steered Plaintiff into multiple consecutive costly

payment relief designed for borrowers experiencing short-term financial problems, before or

instead of affordable long-term repayment options that were more beneficial to her in light of her

financial situation. Navient then encouraged Plaintiff to make as many payments as possible

during these periods of forbearance, knowing they would apply most of those payments to interest,

and not apply those payments toward the term of the loan.

               Plaintiff consolidated her loans and ultimately enrolled in an Extended Standard

Repayment Plan. Plaintiff was reassured that all of the payments made towards the loan would

count to the term of the note. They were not. Thus, Navient failed to abide by the statutory

requirements of the Federal Family Education Program, 34 CFR § 682.100, et. seq.,

misrepresented the consequences of switching payment plans,

                              Navient’s Payment Processing Errors

               Navient’s primary responsibility as a student loan servicer is to process payments

made by borrowers and cosigners on their student loan accounts.

               In addition to the miscalculations under the term of the note already described

herein, Navient ignored directions on overpayments, failing to apply them to principal as Plaintiff

requested, or pay the loan ahead as required by statute.

               Specifically, Plaintiff overpaid nearly every monthly note and those payments were

not applied either per her directions (to the principal), nor where they used to pay the loan ahead



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as mandated by statute. Instead, there appears to be no systematic method used by Navient in

applying payments to Plaintiff’s accounts.

               For example, in 2023, every single one of the 18 overpayments made by Plaintiff

via check stated in writing that the payment was to be applied to the principal. None of them were.

               When Plaintiff discovered the myriad of issues as a result of her principal not being

reduced in connection with her monthly overpayments and contacted Navient, Navient then spent

a year changing her loan terms numerous times without explanation or cause and ultimately

claiming she had re-enrolled in the same Extended Repayment Plan (starting an entirely new term

of 30 years beginning in 2023, prohibited by law, and for absolutely no benefit), and then

unilaterally enrolled her in an unapplied for ISR plan.

               Errors made by Navient in the processing of payments received from Plaintiff

resulted in Plaintiff incurring improper late fees, increased interest charges, the furnishing of

inaccurate negative information to consumer reporting agencies, and the loss of certain benefits.

                               Violations of the Fair Credit Reporting Act

               Plaintiff reported the identity theft under the FTC with regard to the fraudulent

documents created by and/or submitted to Navient. Plaintiff also disputed the loans. Despite these

disputes, Navient failed to properly report to the credit bureaus. To date, Navient continues to

misreport these loans to the credit bureaus.

               Plaintiff was unable to resolve this matter with the credit bureaus as Navient

continued to “verify” their misrepresentations, reducing Plaintiff’s credit score over 200+ points,

from an excellent to a poor rating, causing Plaintiff damages in higher interest rates on her other




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credit obligations, increasing her costs of insurance and services, causing extreme reduction of her

credit limits, and triggering financial hardship for Plaintiff, who is a small business owner.

                                 FIRST CLAIM FOR RELIEF
                      Texas Deceptive Trade Practices Act Against Navient
               Plaintiff realleges and incorporates by reference its allegations in Paragraphs 13

through 46.

               Plaintiff sues Defendant under Tex. Bus. & Com. Code Ann. § 17.50(a) (1) for its

use or employment of false, misleading and deceptive acts or practices that are specifically

enumerated in Tex. Bus. & Com. Code Ann. § 17.46(b) and that were relied on by Plaintiff to her

detriment.

               Plaintiff is a consumer of goods and services provided by Defendant as defined by

the Deceptive Trade Practices Act (“DTPA.”) Plaintiff met all conditions precedent to bringing

this cause of action against Defendant. Specifically, Defendant's violations of the DTPA include,

without limitation, the following matters:

               Unconscionable      Action/Course      of   Action:   Defendant    engaged    in   an

unconscionable action or course of action to the detriment of Plaintiff as that term is defined by

Section 17.45(5) of the Texas Business and Commerce Code, by taking advantage of the lack of

knowledge ability, experience, or capacity of Plaintiff to a grossly unfair degree.

               Violations of Section 17.46(b): By Defendant’s acts, omissions, failures, and

conduct that are described in this Complaint, Defendant violated 17.46(b) (2), (5), (7), (12), (13),

(20), (24) of the DTPA. In this respect, Defendant’s violations include, without limitation, (a)

causing confusion or misunderstanding as to the source, sponsorship, approval, or certification of

goods or services; (b) representing that goods or services have sponsorship, approval,


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characteristics, ingredients, uses, benefits, or quantities which they do not have or that a person

has a sponsorship, approval, status, affiliation, or connection which the person does not; (c)

representing that goods or services are of a particular standard, quality, or grade, or that goods are

of a particular style or model, if they are of another; (d) representing that an agreement confers or

involves rights, remedies, or obligations which it does not have or involve, or which are prohibited

by law; (e) knowingly making false or misleading statements of fact concerning the need for parts,

replacement, or repair service; (f) representing that a guaranty or warranty confers or involves

rights or remedies which it does not have or involve…; (g) failing to disclose information

concerning goods or services which was known at the time of the transaction if such failure to

disclose such information was intended to induce the consumer into a transaction into which the

consumer would not have entered had the information been disclosed.

                The Texas Deceptive Trade Practices Act makes it illegal for a company to

represent that goods or services have characteristics or benefits which they do not have or to fail

to disclose information concerning goods or services which was known at the time of the

transaction if such failure to disclose such information was intended to induce the consumer into

a transaction into which the consumer would not have entered had the information been

disclosed. Tex. Bus. & Com. Code Ann. § 17.46(b)(5), (b)(24).

                Producing Cause. Plaintiff shows that the acts, practices, and/or omissions

complained of were the producing cause of Plaintiff’s damages described herein.

                Reliance. Plaintiff relied on the information provided by Navient and Plaintiff

suffered injury as a result of her reliance.

                Notice. Plaintiff notified Defendant of such complaints pursuant to Section

17.505(a) of the Texas Business and Commerce Code by letters, emails, disputes via the CFPB,

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and the online portal, and would show compliance with conditions precedent to the filing of this

suit and recovery of additional damages and attorney’s fees.

               In addition to the foregoing factual allegations already stated and incorporated

herein, on January 1, 2003, Plaintiff entered into an FFELP Master Promissory Note. A true and

correct copy of this contract is annexed hereto as Exhibit A. Plaintiff relied on Navient’s

representations that it would properly service her student loan and properly apply payments to

same.

               On October 10, 2007, Plaintiff consolidated her loans for an agreed upon term and

sum. A true and correct copy of this contract is annexed hereto as Exhibit B. Plaintiff relied on

Navient’s representations that it would properly service her student loan and properly apply

payments to same. However, unbeknownst to Plaintiff, Defendant failed to properly calculate the

term of the loan from day one. Thus, all of Plaintiff’s payments were improperly applied.

               In 2013, Plaintiff made a substantial lump sum on her loans. Navient (SLM’s)

representative specifically represented to Plaintiff that such substantial lump sum would reduce

the term of the note and would count towards the payments made under the loans. Despite the

overpayment, Navient did not reduce the term of the note, but instead increased the length of her

loans.

               On February 17, 2016, Plaintiff was enrolled in Extended Standard Repayment,

which again, only permitted a 25-year term of the note pursuant to the statute. However, Navient

used the opportunity to extend the loans again.




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                Navient failed to properly apply the payments to the principal as requested by

Plaintiff and failed to apply the payments made per the statute. Instead, Navient applied the

payments to solely benefit itself.

                On August 1, 2022, April 7, 2023, August 21, 2023, September 8, 2023, December

29, 2023, January 1, 2024, January 3, 2024, January 6, 2024, and January 8, 2024, Plaintiff

demanded that Defendant fulfill its obligations under the contract, but Defendant refused.

                Plaintiff performed all of her obligations and duties under the contract until August

12, 2023, when Navient unilaterally enrolled her into an unapplied for ISR plan. In response

Plaintiff filed an identity theft report.

                As a result of Defendant’s breach of contract, Plaintiff has been damaged in an

amount to be determined by the court, but no less than $161,725.47.

                                  SECOND CLAIM FOR RELIEF
                             Violations of the Fair Credit Reporting Act
                The Plaintiff realleges and incorporates by reference its allegations in the foregoing

paragraphs 13-46.

                The Fair Credit Reporting Act imposes two general duties on those who give credit

information to credit reporting agencies: (1) "a [d]uty of furnishers of information to provide

accurate information," 15 U.S.C. § 1681s-2(a); and (2) "[d]uties of furnishers of information upon

notice of dispute," including to investigate disputes, correct inaccurate information, and inform the

credit reporting agency of an investigation's results, 15 U.S.C. § 1681s-2(b). The text of the statute

is excerpted below:




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       “(1) In general. After receiving notice pursuant to section 611(a)(2) [15 USCS §

       1681i(a)(2)] of a dispute with regard to the completeness or accuracy of any information

       provided by a person to a consumer reporting agency, the person shall:

              (A) conduct an investigation with respect to the disputed information;
              (B) review all relevant information provided by the consumer reporting agency
              pursuant to section 611(a)(2) [15 USCS § 1681i(a)(2)];
              (C) report the results of the investigation to the consumer reporting agency;
              (D) if the investigation finds that the information is incomplete or inaccurate, report
              those results to all other consumer reporting agencies to which the person furnished
              the information and that compile and maintain files on consumers on a nationwide
              basis; and
              (E) if an item of information disputed by a consumer is found to be inaccurate or
              incomplete or cannot be verified after any reinvestigation under paragraph (1), for
              purposes of reporting to a consumer reporting agency only, as appropriate, based
              on the results of the reinvestigation promptly—

                  (A) modify that item of information;
                  (B) delete that item of information; or
                  (C) permanently block the reporting of that item of information.”


              Further, the statute goes on to outline damages: “In general. Any person who

willfully fails to comply with any requirement imposed under this title [15 USCS §§ 1681 et seq.]

with respect to any consumer is liable to that consumer in an amount equal to the sum of—

       (1)    (A) any actual damages sustained by the consumer as a result of the failure or
              damages of not less than $100 and not more than $1,000; or

              (B) in the case of liability of a natural person for obtaining a consumer report under
              false pretenses or knowingly without a permissible purpose, actual damages
              sustained by the consumer as a result of the failure or $1,000, whichever is greater;

       (2) such amount of punitive damages as the court may allow; and

       (3) in the case of any successful action to enforce any liability under this section, the costs
       of the action together with reasonable attorney’s fees as determined by the court.”


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                Here, Navient provided inaccurate credit information about Plaintiff to consumer

reporting agencies, TransUnion, Experian, and Equifax. Plaintiff notified the consumer reporting

agencies that the information on her report was inaccurate on multiple occasions, and to all three

of the major credit reporting companies on January 3, 2024, via the Consumer Financial Protection

Bureau’s website. The consumer reporting agencies notified Navient of the dispute and after

receiving this notice, Navient failed to conduct a reasonable investigation and notify the consumer

reporting agencies to correct the reporting errors.

                Therefore, all conditions precedent were met when Plaintiff gave notice of the

dispute to the credit reporting agencies, and the credit reporting agencies notified Navient, and

Navient failed to investigate and fix erroneous reports.15

                As a result of Navient’s refusal to investigate and fix the erroneous reports, Plaintiff

suffered damages in the loss of credit and detrimental effect on her financial reputation. Plaintiff

was subsequently denied credit and faced an increase in interest rates on her other obligations.

                Plaintiff further incurred over 80 hours of time attempting to resolve this matter,

incurring attorney fees and damages.

                                  THIRD CLAIM FOR RELIEF
                                                 Fraud

                Plaintiff incorporates the foregoing paragraphs 13-46 as if fully reiterated herein.

                Fraud by Nondisclosure: Plaintiff sues Defendant for fraud by nondisclosure for

reason that Defendant did not make proper disclosures to Plaintiff prior to entering this transaction


15
 Young v. Equifax Credit Info. Servs. Inc., 294 F.3d 631, 639 (5th Cir. 2002); Schoch v. Wells Fargo Home
Mortg., No. 4:16-cv-619, 2017 U.S. Dist. LEXIS 81233, 2017 WL 2385626, at 4 (E.D. Tex. Apr. 11, 2017), R.
& R. adopted, 2017 U.S. Dist. LEXIS 80799, 2017 WL 2312079 (E.D. Tex. May 26, 2017).

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and any modification thereto, to induce Plaintiff to enter into this transaction and thereby, Plaintiff

has suffered monetary damages by way of injury.

               Specifically, in violation of the Family Federal Education (“FFEL” and/or

“FFELP”) Program, Plaintiff never received a correct monthly notice required by law that

demonstrated the actual amount owed and payable under the proper term of the note, under 34

CFR § 682.205, et. seq.

               Plaintiff did not receive any FFEL Program compliant disclosures that would

indicate that her note would “start over” or be recast in 2013 when she made a substantial payment.

               Plaintiff did not receive any FFEL Program compliant disclosures that described

the multiple unexplained extensions and reduction of the loans.

               Common-law Fraud: Plaintiff sues Defendant for engaging in common-law

fraud for making material representations to her that were false, when it knew that such

representations were false. Plaintiff relied on these representations, which have caused Plaintiff to

suffer injury by way of monetary damages, and intangible damage to her reputation with third

parties.

               Specifically, Navient fraudulently represented a false term of the notes not

authorized by FFEL Program under 34 CFR § 682.209 upon which Plaintiff relied. When Navient

was specifically made aware of the code provision it was violating, it continued to make

misrepresentations regarding the loan term which caused Plaintiff damages.

               Navient engaged in fraud when it specifically misrepresented how the 2013 lump

sum overpayment would be applied, knowing that it would not shorten the term of the loan, but

instead extended it. Further, it failed to provide disclosures required by the FFELP.



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               Navient misrepresented that it would abide by its servicing requirements, when it

knew that it would misapply Plaintiff’s lump sum payment in violation of the FFELP, 34 CFR §

682.209(b)(2)(i), by causing a penalty to the Plaintiff when she repaid a large lump sum to the note

and extending the loan, increasing interest.

               Navient misrepresented that it would abide by its servicing requirements, when it

knew that it would misapply Plaintiff’s principal payments in violation of the FFELP 34 CFR §

682.209(b)(2)(i), by causing a penalty to the Plaintiff and extending the terms of the loan,

increasing interest.

               Navient misrepresented that it would abide by its servicing requirements, when it

knew that it would misapply Plaintiff’s payments in violation of the FFELP 34 CFR §

682.209(b)(ii), by not applying the prepayment to future installments by advancing the next

payment due date, unless the borrower requested otherwise.

               Navient misrepresented that it would abide by its servicing requirements, when it

knew that it would misapply Plaintiff’s payments in violation of the FFELP 34 CFR §

682.209(b)(ii), by not providing a notification to Plaintiff after the payments are received

informing the borrower that the payments have been so applied and the date of the borrower's next

scheduled payment due date.

               Navient misrepresented that it would abide by its servicing requirements when it

knew that it would not properly apply Plaintiff’s payments to principal and interest.

               Navient misrepresented the terms of the note to Plaintiff, when it knew that that the

notes were extended beyond the legally permitted time afforded by the FFELP statute. Specifically,

Navient misrepresented to Plaintiff that she was not a “new borrower” under the statute, and thus



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not entitled to a 25-year note. Further, Navient continually miscalculated the terms of the note,

extending a 25-year period to over 50 years!

                Navient misrepresented to the Plaintiff that it was properly calculating the terms

and the payments to the loan.

                Navient misrepresented that deferment and forbearance were appropriate for the

Plaintiff each time she entered into those statuses when Navient should have disclosed that an

alternative plan was more beneficial to the Plaintiff since the Plaintiff was experiencing long term

hardship.

                As to each of the foregoing misrepresentations, Plaintiff relied on these

representations to her detriment. Further, Plaintiff did not discover the issues with her loans for

years due to Navient’s fraudulent misrepresentations that it was complying with the due diligence

of a lender pursuant to the FFELP statute.

                As a result of Navient’s fraud and misrepresentations, Plaintiff sustained damages

including lost time from work, attempting to resolve this matter, monetary damages, and damages

to her financial rating and reputation.

                            FOURTH/FIFTH CLAIM FOR RELIEF
              Declaratory Judgment Sought/Material Breach of Contract by Navient

                The Plaintiff realleges and incorporates by reference its allegations in the foregoing

paragraphs.

       10.      Additionally, and/or alternatively, pursuant to the Declaratory Judgment Act, 28

U.S.C. § 2201, and/or alternatively pursuant to the Texas Uniform Declaratory Judgment Act,

Plaintiff seeks a declaration of the rights and duties of the Parties in light of Navient’s material



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breach of contract16;

          11.      Plaintiff seeks a declaration that a material breach of contract by Navient excuses

performance by Plaintiff.17 Plaintiff further seeks a declaration as to the date the material breach

occurred and the rights, duties, and obligations of the Parties herein as a result of the breach.

          12.      To prove breach of contract, Plaintiff must show there was a valid contract,

Plaintiff tendered performance, Defendant failed to perform, and Plaintiff was damaged as a

result.

          13.      Here, Plaintiff entered into a Master Promissory Note in order to obtain loans to

seek higher education.18 The sole purpose of Navient was to properly service and manage

Plaintiff’s loans pursuant to the terms of the contract, and as mandated by the Higher Education

Act of 1965, federal and state consumer protection laws and/or the federal securities laws and

SEC rules, regulations and guidance.

          14.      Plaintiff complied with the terms of the loan, even attempting to pay it off sooner

by overpaying the loan whenever possible, including windfalls she obtained through the years.

          15.      Despite Plaintiff’s performance, Navient failed to perform its duties as follows:

                a. Failure to properly maintain and account;

                b. Failure to provide necessary disclosures;

                c. Forcing an unauthorized administrative forbearance to increase interest;




16 Upon the filing of the appropriate pleading, a Court may declare the rights and other legal relations of any interested
party seeking such declaration, whether or not further relief is or could be sought. Any such declaration shall have the
force and effect of a final judgment or decree and shall be reviewable as such. See 28 U.S.C. § 2201; Tex. Civ. Prac.
and Rem. Code § 37.001, et. seq.
17
   Deprivation of a reasonably expected benefit is a circumstance indicating a material breach of contract. See also X
Techs., Inc. v. Marvin Test Sys., 719 F.3d 406, 413 (5th Cir. 2013) (when one party materially breaches, the other
party is excused or discharged from any obligation to perform); Mustang Pipeline Co., Inc. v. Driver Pipeline Co.,
Inc., 134 S.W.3d 195, 196 (Tex. 2004) (per curiam); Accord Bartush-Schnitzius Foods Co. v. Cimco Refrigeration,
Inc., 518 S.W.3d 432, 437 (Tex. 2017).
18
   Attached hereto as Exhibit A.

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           d. Failure to protect Plaintiff’s information from unauthorized users;

           e. Charging late fees when it claimed payments were “rolled ahead;”

           f. Failing to apply overages to principal payments despite requests;

           g. Overcharging interest;

           h. Applying penalties prohibited by law to Plaintiff to prevent her from paying off
              and shorten her loan;

           i. Refusing to provide requested information and documents to Ms. Simpson;

           j. Intentionally providing false information to Ms. Simpson with regard to the terms
              of the loan;

           k. Modifying the terms of Plaintiff’s loan without her knowledge or consent in order
              to extend the term of the loan and increase interest;

           l. Failing to investigate after notice of issues;

           m. Failure of due diligence in servicing the loan.

           n. Misreporting information to the credit bureau reporting agencies;

           o. Upon information and belief, it appears the Rule of 78 has been applied to these
              loans, which is prohibited by law.

               As a result of Navient’s breach of contract, Plaintiff sustained damages including

misapplications of payments, lost time from work attempting to resolve this matter, monetary

damages, and damages to her financial rating and reputation.

                                 SIXTH CLAIM FOR RELIEF
                                  Forfeiture And Disgorgement

               Plaintiff incorporates the facts alleged in the foregoing paragraphs as if fully

reiterated herein.

               Plaintiff sues the Defendant for a forfeiture and disgorgement of all monies paid

and/or improperly paid.



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                   REQUEST FOR PRELIMINARY INJUNCTIVE RELIEF
                Plaintiff incorporates the facts alleged in the foregoing paragraph, including 13-46,

as if fully reiterated herein.

                Pursuant to Federal R. Civ. P. 65(b), Plaintiff hereby seeks injunctive relief with

regard to Navient, its agents, representatives, affiliates and/or subsidiaries reporting the alleged

debts made the basis of this suit to the consumer reporting agencies during the pendency of this

suit.

                To obtain injunctive relief, the movant must carry "its burden of proof for each of

the four requirements for a preliminary injunction: substantial likelihood of success on the merits,

substantial threat of irreparable harm absent an injunction, a balance of hardships in DHS's favor,

and no disservice to the public interest." Daniels Health Scis., LLC v. Vascular Health Scis.,

L.L.C., 710 F.3d 579, 582 (5th Cir. 2013); see Jordan v. Fisher, 2016 U.S. App. LEXIS 11734, at

*4 (5th Cir. Feb. 10, 2016) (movant must "clearly" carry the burden of persuasion as to all four

factors).

                The Fifth Circuit has also stated that "[i]n order to obtain a preliminary injunction,

the movant must first establish a substantial likelihood of success on the merits." Butts v. Aultman,

953 F.3d 353, 361 (5th Cir. 2020).

                Note that the Fifth Circuit test requires a showing that the injunction will not

disserve the public interest. Miss. Power & Light Co. v. United Gas Pipe Line Co., 760 F.2d 618,

621 (5th Cir. 1985).

                First Factor – Success on the Merits. As a threshold matter, parties seeking a

pretrial injunction, "are not required to prove their claim, but only to show that they [are] likely to

succeed on the merits." Glossip v. Gross, 135 S. Ct. 2726, 2792 (2015); Winter v. Nat. Res. Def.

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Council, Inc., 555 U.S. 7, 22 (2008).

                 Here, Plaintiff has shown that Navient failed to comply with the requirements of

the statute under which it was governed by applying the wrong term to the loans pursuant to the

statute, refusing to apply the “new borrower” status to the Plaintiff, manipulating Plaintiff’s loan

terms at least seven times without cause, misapplying payments, including principal payments,

and refusing to investigate the issues properly and continuing to misreport the credit bureaus. In

light of these failures by Navient, it is likely that the Plaintiff will prevail on the merits of this case.

                 Second Factor – Irreparable Injury. A party seeking pretrial injunctive relief

must" demonstrate that irreparable injury is likely in the absence of an injunction." Winter v. Nat.

Res. Def. Council, Inc., 555 U.S. 7, 22, (2008).

                 Plaintiff is a small business owner who had a credit score rating of over 730 prior

to the beginning of the dispute with Navient. In August 2023, Navient insisted on its course of

action and ultimately put Plaintiff into an ISR plan to which she did not even apply for or qualify,

Plaintiff refused to be complicit in Navient’s continued financial abuses and abuses of her identity.

This resulted in a detrimental report to the credit bureaus which Navient then intentionally failed

to rectify. Plaintiff thereafter suffered a loss in her credit rating and was denied credit as a result

of Navient’s misreporting of information to the credit bureaus. As this suit could take years, the

harm to Plaintiff in the interim is irreparable as Plaintiff is a small business owner and her financial

reputation is of utmost importance in running a business. Without injunctive relief, she could face

the loss or destruction of her entire business19, and the loss of her business and financial goodwill.




19
  Showing a threat of "extinction" is enough to establish irreparable harm, even when damages may be available and
the amount of direct financial harm is ascertainable"); NACM-New Eng., Inc. v. Nat'l Ass'n of Credit Mgmt., Inc., 927
F.3d 1, 5 (1st Cir. 2019).

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This harm cannot be redressed by a legal or equitable remedy following a trial.

                Further, if Navient and its agents are not enjoined from pursuing Plaintiff and

improperly reporting against Plaintiff, Plaintiff may suffer deprivation of her professional license.

                The irreparable injury is likely as this has already occurred as Plaintiff is beginning

to suffer the injury described herein, with the extreme loss to her credit standing and loss and denial

of credit.

                The cause of the harm by the misreporting and failure of Navient is the cause of the

detrimental effects on Plaintiff, and damage to her reputation.

                Third Factor - Balance of Equities. The "balancing the equities" analysis

addresses the harm of granting or denying pretrial injunctive relief upon both parties.

                There is no harm to Navient if this injunction is erroneously granted. However, the

harm to the Plaintiff is substantial. As previously described, the Plaintiff stands to lose her business

and her professional license should Navient and its agents not be enjoined from inappropriately

attempting to assert this alleged debt against Plaintiff during the pendency of this suit.

                Fourth Factor – Public Interest. 'In exercising their sound discretion, courts of

equity should pay particular regard for the public consequences in employing the extraordinary

remedy of injunction.'" Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 24 (2008).

                Private interests are involved in this suit. This is not a public matter. The only

tangential public interest in this suit is the enforcement of a valid law, which is in favor of the

Plaintiff, as the FFELP will be appropriately applied, and Plaintiff’s constitutional rights in her

reputation and property will be protected.

                Thus, this factor is in favor of injunctive relief for the Plaintiff.


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                Therefore, Plaintiff seeks an injunction against Navient to report her loans during

the pendency of this matter and/or to report them as delinquent during the pendency of this matter.

                                            DAMAGES
                As a result of Defendant’s actions and omissions, Plaintiff suffered economic

damages in the approximate amount of all payments made on these loans, damages to her

reputation, loss of credit rating, lost time from work, and attorney’s fees and costs.

                Further, Plaintiff would show that the false, misleading, and deceptive acts,

practices, and/or omissions complained of herein were committed “knowingly” in that Defendant

had actual awareness of the falsity, deception, or unfairness of such acts, practices and/or

omissions.

                Plaintiff further avers that such acts, practices, and/or omissions were committed

“intentionally” in that Defendant specifically intended that Plaintiff act in detrimental reliance on

the falsity or deception on in detrimental ignorance of the unfairness.

                Therefore, Plaintiff is entitled to recover multiple damages as provided by

17.50(b)(1) of the Texas Business and Commerce Code.

                Plaintiff is entitled to injunctive relief requiring Defendant and agencies to cease

and remove the disputed loans reported to Plaintiff’s credit history during the pendency of this suit

so that the rights and duties of the parties can be established without further damage to the

Plaintiff’s credit rating.

                Plaintiff also seeks compensatory damages, including damages for pain and

suffering, humiliation, embarrassment, and emotional distress, if allowed by law.




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                                      ATTORNEY’S FEES
               Request is made for all costs and reasonable and necessary attorney’s fees incurred

by or on behalf of Plaintiff herein, including all fees necessary in the event of an appeal.



                                     PRAYER FOR RELIEF
               WHEREFORE, Plaintiff respectfully requests that this Court enter a judgment

against Defendant, granting Plaintiff the following relief:


           The entry of judgment in favor of the Plaintiff on each and every cause of action;

           Alternatively, the award of the requested equitable relief and disgorgement of all
           funds paid;

           Declaration that Navient has breached the agreement from inception;

           The award of costs of the suit and attorney’s fees;

           Multiplier Damages permitted under the DTPA;

           Exemplary Damages; and

           Such other relief as the Court deems just and proper.


                               DEMAND FOR TRIAL BY JURY
       118.    Plaintiff demands a trial by jury on all issues that are so triable.




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                                      Respectfully submitted,
                                      THE WOODLANDS LAW FIRM, PLLC


                                      By: ______________________________
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                                      COUNSEL FOR PLAINTIFF




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                                                                Exhibit A 01
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           NO ADDITIONAL PAGES PROVIDED TO PLAINTIFF




                                                                Exhibit A 02
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              NO ADDITIONAL PAGES PROVIDED TO PLAINTIFF




                                                                 Exhibit B 08
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                                                                Exhibit D 01
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                                                                 Exhibit E 01
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Gwendolyn,

Thank you for your inquiry regarding your repayment information, we appreciate you reaching out to us.

Our records indicate you are in Extended Repayment Loan Program - Level/Fixed. Under this program, your payments
are level/fixed for the remaining terms until the loan is paid in full. You began this program February 7, 2016.

Your payment schedule in the amount of $285.13 for 251 months through July 25, 2043, $316.86 August 25, 2043. You
may leave/change plans at any time for another eligible plan.

If we can provide additional assistance, visit our website at Navient.com. You are also welcome to call us at 888-272-5543.
We are here to help you Monday through Thursday, 8:00 a.m. to 9:00 p.m., and Friday 8:00 a.m. to 8:00 p.m., ET.

Best Regards,

Jennifer, Loan Servicing Specialist
ref:_00D6g24VAq._5008y579KV:ref

---------- Original Message ----------

Good afternoon, I enrolled in Extended Repayment years ago and have been making payments in this repayment plan for
as long as I can remember on the two active consolidation loans. Today, I reviewed the status, and it appears that I am
not in Extended Repayment and the repayment period exceeds the maximum repayment term! Please advise what type
of repayment plans my loans are in and when the repayment plan was entered into. Thank you.




                                                                                                       Exhibit F 01
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P.O. BOX 9500
WILKES-BARRE, PA 18773-9500




           GWENDOLYN J SIMPSON




GWENDOLYN, we’ve updated the payment schedule of your                                                Account number
                                                                                                          7096 - 1
loans.
                                                                                                     Date
To see what loans were included in this update, refer to the loan table at the end of this letter.
                                                                                                     10/26/22
Your updated loan information:
 Previous Principal (includes previously Capitalized
 Interest but not the Capitalized Interest indicated                  $42,408.10                     Manage your account online
 below)                                                                                              Navient.com
 Capitalized Interest (Accrued Unpaid Interest added
                                                                                                     Payment address
 to principal with this statement) (See important          +          $0.00                          P.O. Box 9533
 disclosure section.)                                                                                Wilkes-Barre, PA 18773-9533
 Unpaid Principal                                          =          $42,408.10                     Phone number
                                                                                                     888-272-5543
 Accrued Unpaid Interest (not capitalized)                 +          $5.37
                                                                                                     Monday – Thursday,
 Balance Used to Calculate Monthly Payment                                                           8 a.m. – 9 p.m.
                                                           =          $42,413.47                     Friday, 8 a.m. – 8 p.m. Eastern
 Amount
 Estimated Total Amount of Future Interest to be
 Paid During Repayment (if payments are made as            +          $38,685.13                     Remember, the more you can pay
 scheduled)                                                                                          each month, the less you'll pay in
                                                                                                     interest over the life of your
 Estimated Total Loan Amount to be Paid                    =          $81,098.60                     loan(s).


 Late Fees (must be paid in addition to the Monthly
                                                                      $0.00
 Payment Amount)

This may not reflect your entire repayment schedule. To view a complete repayment
schedule, log in to your Navient.com account.

If you make all remaining payments on time according to this schedule, we estimate that your
loans will be paid off in 08/2054.

Your updated payment schedule:

    Number of Payments               Payment Amount ($)                       Due Date
           382                            212.30                              11/25/22



Para comunicarse en Espańol con 'Atención al Cliente',                                                             Exhibit G 01
                                                                                                     *9718267096125514198*
llame gratis al (888) 272-5543, y marque el numero correspondiente.


         H003            SYSTEM           S                        0001               *9718267096125514198*
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This repayment schedule replaces all previous schedules for the loans and doesn’t include
any Past Due Amounts. All terms of your original Promissory Notes remain in effect.

What you need to know
Interest accrues on your account at a rate set by the terms of your loan. If you depart from
your original repayment schedule by taking a forbearance or making late payments, for
example, you may accrue additional interest that will need to be paid.

Under the terms of your Promissory Note, we apply your payments to outstanding interest
before applying them to principal. So, if you accrue more interest than we originally
anticipated in your repayment schedule and if you don’t pay that additional interest as it
accrues, your Monthly Payment Amount may need to be adjusted to make sure your loan will
be paid off by its stated loan term end date.

We’re here to help
We want to help you manage your account in a way that’s convenient for you. Please call
us or visit us online.




Important disclosure(s)

Capitalization of interest
Unpaid Interest may be capitalized (added to your principal balance) at the end of the grace period, at the end of a deferment, at the end of
each forbearance, when the loan enters repayment, and upon certain conditions while enrolled in an income-driven repayment (IDR) plan
as permitted by law and your loan agreement. For Subsidized Stafford Loans first disbursed prior to July 1, 2000, Unsubsidized Stafford
Loans first disbursed prior to October 7, 1998, all PLUS and Consolidation Loans, and some private loans, Unpaid Interest may also be
capitalized as often as quarterly during in school, grace, deferment, or forbearance periods. Please see your loan agreement for additional
details. Capitalization increases both the principal balance and total loan cost.

Review of payment schedule
Periodically, we review accounts and adjust Monthly Payment Amounts to ensure that loans will be paid off within their repayment terms.
We will inform you of any such change before the new Monthly Payment Amount is due.

Credit reporting accuracy
If you believe the information we are reporting to the consumer reporting agencies is not accurate or is incomplete, or you want to
dispute it, please write us. Include your name, address and account number. Please identify the specific information in question,
explain the basis of the dispute, and include all supporting documentation to substantiate the basis of the dispute. Mail your letter to:
Navient, P.O. Box 9500 Wilkes-Barre, PA 18773-9500.




                                                                                                                            Exhibit G 02
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Your loan servicer
Your loans are serviced by Navient Solutions, LLC (NMLS# 212430).

Loan Information

    DISBURSEMENT                   ORIGINAL                       UNPAID      INTEREST     LOAN
         DATE                      PRINCIPAL                    PRINCIPAL       RATE     PROGRAM
        10/10/07                   $ 46,788.35                  $ 22,990.46     4.625       SM
        10/10/07                   $ 25,420.72                  $ 19,417.64     4.625       SM




                                                                                          Exhibit G 03
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                                                                 Exhibit I 01
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                                                                 Exhibit I 02
